
USCA1 Opinion

	




                              _________________________
          No. 97-1319
                     STATE POLICE ASSOCIATION OF MASSACHUSETTS,
                               Petitioner, Appellant,
                                         v.
                          COMMISSIONER OF INTERNAL REVENUE,
                                Respondent, Appellee.
                              _________________________
                       APPEAL FROM THE UNITED STATES TAX COURT
                            [Hon. Thomas B. Wells, Judge]
                              _________________________
                                       Before
                          Selya and Lynch, Circuit Judges,
                         and Pollak,* Senior District Judge.
                              _________________________
               Alfred  
                      J.  
                          O'Donovan, with whom   Michelle  
                                                           H.  
                                                               Blauner and
          Shapiro, Haber &amp; Urmy were on brief, for appellant.
               Teresa  
                      T.  
                          Milton, Attorney, Tax Division, U.S. Dep't of
          Justice, with whom 
                            Loretta C. Argrett
                                              , Assistant Attorney General,
          and Kenneth L. Greene, Attorney, Tax Division, were on brief, for
          appellee.
                              _________________________
                                   August 20, 1997
                              _________________________
          __________________
          *Of the Eastern District of Pennsylvania, sitting by designation.

                    SELYA, 
                          Circuit Judge
                                       . In this case, the Commissioner of
          the Internal Revenue Service (the Commissioner) issued a deficiency
          notice to the State Police Association of Massachusetts (the
          Association) for income taxes allegedly due but unpaid. When the
          Association protested, the Tax Court sided with the Commissioner.
          See State 
                    Police 
                           Ass'n 
                                 of 
                                    Mass. v. Commissioner, 72 T.C.M. (CCH)
          582 (1996) (Tax Ct. Op.). The Association appeals, contending that
          the Tax Court erred both in finding that the deficiency assessment
          was timely and in holding that certain of the Association's
          activities gave rise to liability for unrelated business income
          tax. We affirm.
          I. BACKGROUND
                    The Association is a labor organization, and, as such, is
          exempt from income taxes under 26 U.S.C. S 501(c)(5) (1994). The
          purpose of the organization is to represent its members in
          bargaining over the terms and conditions of their employment and to
          promote a fraternal spirit among members. Virtually all the
          troopers who are eligible to join the Association do so.
                    During the years at issue, the Association published an
          annual yearbook, known as 
                                   The 
                                      Constabulary. The yearbook consisted
          of photographs, articles, display advertisements, and a business
          directory. We describe     infra the sales effort (which the
          Association in more salubrious times called the "earnings program")
                              
               From this point forward, we will refer to the applicable
          provisions of the Tax Code, as they appeared on the date(s) in
          question, by using the preface "IRC." To illustrate, 26 U.S.C. S
          501(c)(5) will be cited as IRC S 501(c)(5), and so on and so forth.
                                          2

          and the mechanics of publication and distribution. It is enough
          for now to say that the earnings program proved to be aptly named:
          gross receipts related to the publication of The Constabulary for
          the years at issue totalled $8,788,211. Of this amount, the
          Association retained somewhat over 40% (the precise percentage
          varied from year to year, and is of no consequence here). The
          Association paid no tax on the income.
                    It is said that all good things come to an end. Federal
          law requires that an otherwise tax-exempt organization must pay
          federal income tax on income derived from business ventures which
          are not substantially related to its tax-exempt purpose(s).   See
          IRC S 511. After due investigation, the Commissioner concluded
          that the Association had violated this stricture because the sale
          of advertising in 
                           The 
                               Constabulary yielded taxable income. Acting
          on this conclusion, the Commissioner issued a deficiency notice
          seeking $1,352,433 in taxes due for the tax years ended April 30,
          1986 through April 30, 1989, the three months ended July 31, 1989,
          and the tax years ended July 31, 1990 and 1991, along with
          additions to tax and penalties totalling $711,075.
                    Displeased by this turn of events, the Association
          brought suit in the Tax Court under IRC S 6213(a) to obtain a
          redetermination of the taxes allegedly due. It claimed that, for
          certain tax years, the notice of deficiency had been issued beyond
          the applicable limitation period; and that, on a broader plane, the
          activity cited by the Commissioner _ the solicitation, sale, and
          publication of display ads and listings in The Constabulary _ did
                                          3

          not constitute an unrelated trade or business regularly carried on,
          and that, therefore, the income derived from that activity was
          exempt from tax. The Tax Court rejected both of these theses and
          sustained the Commissioner's determination of the existence and
          extent of the deficiency (although it eliminated the additions to
          tax and the penalties). See Tax Ct. Op. at 589, 594. This appeal
          ensued.
          II. THE PUTATIVE TIME BAR
                    The Association claims that the statute of limitations
          bars the collection of taxes as to some or all of the affected
          periods. The relevant facts are not in dispute. On August 3,
          1992, the Association and the Commissioner, through their
          authorized representatives, executed a form entitled "Consent to
          Extend the Time to Assess Tax" (the Form). The Form, a copy of
          which is reprinted in the appendix, permitted the Commissioner to
          assess income tax on or before April 30, 1993, for the contested
          periods through July 31, 1989. The Commissioner assessed the taxes
          allegedly due for these periods by issuing a deficiency notice on
          April 22, 1993. The applicable limitation period is three years.
          See IRC S 6501(a). If the Form sufficed to extend the limitation
          period, then the deficiency notice was timely as to all the tax
          years at issue; if not, the Commissioner's claim for certain
          periods is probably time-barred.
                    The Association advances a purely linguistic argument on
          this point. It notes that the text of the Form provides for an
          extension of the limitation period solely with respect to tax due
                                          4

          on "any return(s) made" by the Association during the periods in
          question. The only returns so made were information returns, on
          Form 990, entitled "Return of Organization Exempt from Income Tax."
          By definition, no tax could possibly be due on an information
          return. Taking this literal view, the Association contends that
          the Form did not extend the limitation period at all.
                    The Tax Court refused to swallow this slippery syllogism.
          It impliedly found the language of the Form ambiguous and construed
          it as broad enough to include not only taxes due on returns made
          but also taxes due on returns deemed to be made.  See Tax Ct. Op.
          at 589. Ascertaining the ambiguity  vel non of a writing requires
          a court to ask and answer a question of law, and, therefore, we
          review this conclusion de novo. See IRC S 7482(c)(1); 
                                                               see 
                                                                   also 
                                                                        RCI
          Northeast Servs. Div.
                               v. 
                                  Boston Edison Co.
                                                   , 822 F.2d 199, 202 (1st
          Cir. 1987).
                    The Tax Court's rendition withstands scrutiny. Tax forms
          are rarely models of syntactical clarity, and the Form signed by
          the parties is no exception. The Tax Court read the phrase
          "return(s) made" as encompassing returns deemed to be made. This
          construction strikes us as reasonable.
                    Words must be read in context. Though a plain vanilla
          reading of the Form would support an inference that the parties
          wished to extend the limitation period for assessing taxes due on
          actual returns filed for the applicable periods, the context casts
          a different light on the phrase "return(s) made." When one takes
          into account that the only "returns made" were information returns
                                          5

          on which no tax could conceivably be due, and that the signatories
          to the Form knew as much, the ambiguity of the phrase becomes
          apparent.
                    Our thinking runs along the following lines. It would be
          nonsensical to extend the limitation period for assessment of taxes
          due on a return on which, by operation of law, no tax conceivably
          could be due. The law, in turn, should be reluctant to insist that
          courts construe a document in a way that leads to an absurd or
          nonsensical result. Indeed, the maxim   ut res magis valeat  quam
          pereat teaches that a written instrument ordinarily should be given
          a meaning that will make it legally functional rather than a
          meaning which will render it legally dysfunctional.  See 3 Arthur
          Linton Corbin, Corbin on Contracts S 532 (1960); see also Blackie
          v. Maine, 75 F.3d 716, 722 (1st Cir. 1996). Thus, the very
          implausibility of the Association's proposed construction suggests
          that the phrase "return[s] made" must have some other meaning.
                    This conclusion is fortified by the wonted operation of
          the relevant provisions of the Internal Revenue Code.
          Specifically, a return relative to the unrelated business taxable
          income of a normally tax-exempt organization (a so-called "990-T"
          return) is deemed made, for purposes of starting the running of the
          limitation period, when the information return (a so-called "990"
          return) is in fact made.    See California 
                                                     Thoroughbred 
                                                                   Breeders
          Ass'n v. Commissioner, 47 T.C. 335, 338 (1966) (construing IRC S
          6501(g)(2)). Without this rule deeming the Association's 990
          return to be a 990-T return, the statute of limitations that the
                                          6

          Association seeks to invoke would, presumably, not yet have begun
          to run. The Association thus seeks to link the two forms for the
          purposes of starting the limitations period, but would have us
          decouple the forms in reviewing its agreement to extend that
          period. Perhaps more important, reading the Form against the
          backdrop of the  California 
                                      Thoroughbred 
                                                    Breeders rule suggests
          another (broader) meaning for the phrase "return(s) made" _ a
          meaning which extends to returns deemed made _ and thus highlights
          the ambiguity of the Form.
                    That ends the matter. The presence of an ambiguity
          permits a reviewing court to examine extrinsic evidence in an
          effort to clarify the intent of the parties. 
                                                      See 
                                                          Smart v. 
                                                                   Gillette
          Co. 
              Long-Term 
                        Disability 
                                   Plan, 70 F.3d 173, 179 (1st Cir. 1995);
          RCI 
              Northeast, 822 F.2d at 202. Here, the extrinsic evidence is
          telling: the Association's reading of the Form contradicts what
          even the Association admits was the parties' mutual intention _ to
          extend the limitation period as to any unrelated business income
          tax that might be due for the affected periods.
                    We need not linger. We resolve contractual ambiguity in
                              
               The court below suggested that, if it were unable to construe
          the language in the Form to give effect to the parties' discerned
          intention, it could reach the same result by reforming the
          instrument.  See Tax Ct. Op. at 589 n.4. In general, reformation
          is available when a writing is clear on its face (i.e.,
          unambiguous) but nonetheless misstates the parties' intent.  See,
          e.g., 
               United States
                             v. 
                                Lumbermens Mut. Cas. Co.
                                                        , 917 F.2d 654, 658
          (1st Cir. 1990); 
                          Rocanville Corp.
                                           v. 
                                              Natural Gas Pipeline Co.
                                                                      , 823
          F.2d 92, 94 (5th Cir. 1987);   see also Restatement (Second) of
          Contracts S 155 (1979). The doctrine can be applied in tax cases.
          See, e.g., Woods v.  Commissioner, 92 T.C. 776, 782-83 (1989).
          However, because we uphold the Tax Court's implicit finding that
                                          7

          favor of effectiveness, accept the discerned intent of the parties,
          endorse the Tax Court's interpretation of the phrase "return[s]
          made," and hold that the Form extended the limitation period as to
          the assessment of unrelated business income tax. The notice of
          deficiency was, therefore, timely as to all the contested tax
          years.
          III. THE MERITS
                      The gravamen of the Commissioner's case is the charge
          that the activity undertaken in connection with publication of 
                                                                        The
          Constabulary generated unrelated business taxable income. The
          allegation that an activity engaged in by a tax-exempt organization
          gives rise to unrelated business taxable income requires proof of
          three components. The Commissioner must demonstrate (1) that the
          activity comprises a trade or business, (2) which is regularly
          carried on, and (3) which is not substantially related to the
          organization's tax-exempt purpose.  See United States v. American
          Bar Endowment, 477 U.S. 105, 110 (1986); see also IRC S 513(a).
                                         A.
                    At the gateway to this issue, the parties dispute the
          standard of review. The Association asserts that the Tax Court's
          findings _ that publication of 
                                       The 
                                           Constabulary involved a business
          regularly carried on  _ are subject to de novo review. The
                              
          the Form is ambiguous, we need not reach the reformation issue.
               The Association does not mount a challenge on the third prong
          of the tripartite test, instead conceding that if the activity
          amounts to a regularly conducted trade or business, it is, as the
          Tax Court found, not substantially related to the Association's
                                          8

          Commissioner maintains that these findings are entitled to greater
          deference.
                    Congress has directed the courts of appeals to use the
          same standards in reviewing Tax Court decisions that traditionally
          are used in appellate review of district court decisions in civil
          actions tried without a jury. See IRC S 7482(a). Consequently, we
          evaluate the Tax Court's findings of fact under the clearly
          erroneous standard. See 
                                  Commissioner v. 
                                                  Duberstein, 363 U.S. 278,
          291 (1960); Manzoli v. Commissioner, 904 F.2d 101, 103 (1st Cir.
          1990); see  also Fed. R. Civ. P. 52(a). This mode of review
          requires us to accept the Tax Court's credibility determinations
          and its findings about historical facts unless, after careful
          evaluation of the evidence, we are left with an abiding conviction
          that those determinations and findings are simply wrong.      See
          Reliance Steel Prods. Co.
                                   v. 
                                      National Fire Ins. Co.
                                                            , 880 F.2d 575,
          576 (1st Cir. 1989). Notwithstanding the clearly erroneous rule,
          however, the Tax Court's ultimate conclusions (e.g., whether the
          facts, as found, are legally sufficient to demonstrate that the
          Association engaged in a trade or business) are conclusions of law,
          and are therefore subject to de novo review.
                    On the merits, the Association advances two challenges:
          it asserts that the activities in question did not constitute a
          trade or business, and that in all events those activities were not
          conducted with the requisite regularity. We address these
          challenges sequentially.
                              
          tax-exempt purpose.  See Tax Ct. Op. at 591.
                                          9

                                         B.
                    The operating paradigm permitted the Association to
          exercise significant control over the sales effort, the handling of
          the funds generated, and the publication of    The  Constabulary.
          Under this paradigm, the Association contracted with an outside
          firm (originally Brent-Wyatt East, and later R.H. McKnight Co.) to
          publish the yearbook and recruit telemarketers. These
          telemarketers were considered joint employees of the Association
          and the outside firm.
                               Groups of eight to twelve callers worked out
          of field offices selected by the outside firm with the
          Association's approval and solicited local and national businesses
          within geographic areas demarcated by the Association. In so
          doing, they utilized a canned solicitation format approved by the
          Association, introducing themselves as calling on behalf of the
          Association. Troopers monitored all solicitations to make certain
          that the sales staff did not trespass into forbidden terrain. The
          Association also retained the right to inspect, without prior
          notice, the field offices from which solicitations took place.
                    Prospective customers were offered the opportunity to
          purchase display advertisements and listings. Displays ranged in
          size from one-sixth of a page to a full page, and, at the
          purchaser's option, could contain text, logos, slogans, borders,
                              
               We describe the relationship as it existed through mid-1990,
          under contractual arrangements with Brent-Wyatt East. Although the
          contract signed with McKnight on June 20, 1990, contained some
          variations, the Tax Court supportably found that these changes were
          largely cosmetic and did not alter the essential character of the
          relationship.  See Tax Ct. Op. at 585.
                                         10

          and blocking. The fee charged for a display advertisement or a
          directory listing varied in direct proportion to the size of the
          display or listing and to the number of editions in which it
          appeared.   The Constabulary was arranged so that displays were
          interspersed with editorial matter, and the publication contained
          a so-called "Index to Advertisers." Listings were arranged by type
          of product or service in a separate business directory section.
                    Payments for ads sold were made to the Association and
          the Association deposited the receipts in its account. It made
          weekly accountings _ retaining a stipulated percentage "off the
          top" for itself, paying set percentages of the gross receipts to
          the telemarketers and to the outside firm, defraying the costs
          associated with solicitation and publication _ and kept any excess.
                    The Association published  The  Constabulary annually.
          Association members acted as the editorial staff, writing and
          editing articles for the publication and approving the contents of
          the finished product. The Association distributed the yearbook
          free of charge at various state troopers' barracks, the
          Association's annual picnic (the "Police Chase"), and other
          occasions. Copies were sometimes sent to advertisers.
                    Based on this scenario, the Commissioner's theory is that
          the Association _ which from time to time called The Constabulary
          an "ad book" and which, in its contract with Brent-Wyatt East,
          referred to the latter's assignment as "marketing advertising" _
                              
               The Association produced five regional editions with common
          editorial material.
                                         11

          engaged in the business of selling advertising. The Association
          counters that it did not engage in that business; in its view, the
          displays and listings were not advertising at all, but merely a
          means of identifying sponsors. The Tax Court rejected this
          contention, see Tax Ct. Op. at 590, and so do we.
                    Even a cursory glance at the yearbook, the pricing
          structure, and the terminology used by the Association belies the
          belated claim that the ads and listings were not "advertising" as
          that term is commonly understood. Nor is the Association's
          attempted recharacterization made any more palatable by its
          reliance on Proposed Treas. Reg. S 1.513-4, 58 Fed. Reg. 5690, 5690
          (1993). The proposed regulation describes the permissible contents
          of acknowledgements of sponsorship payments; it allows value-
          neutral descriptions of a sponsor's products or services, and logos
          or slogans "that are an established part of a sponsor's identity."
          See id. S 1.513-4(c). We need not decide, however, whether the
          materials in The Constabulary meet these exacting criteria; the
          proposed regulation, by its terms, does not apply to periodicals
          produced by tax-exempt organizations.  See id. S 1.513-4(a).
                    Putting the proposed regulation to one side, the
          Commissioner's appraisal of The Constabulary's contents comports
          with common sense: the displays look like ads, the directory
          listings function as guides to products and services, and the
          Association itself, at least during the first four years of the
          undertaking, consistently referred to the displays and listings as
          ads rather than as acknowledgements. That appraisal also is
                                         12

          supported by well-reasoned precedent.
                    Fraternal Order of Police, Etc.
                                                   v. 
                                                      Commissioner, 87 T.C.
          747 (1986), aff'd, 833 F.2d 717 (7th Cir. 1987) (FOP), which also
          involved the solicitation and sale of insertions in a publication
          sponsored by a tax-exempt policemen's organization, bears a strong
          resemblance to the case at bar. The Tax Court found that the
          activity in question amounted to an unrelated business. 87 T.C. at
          757. The Seventh Circuit affirmed this finding. 833 F.2d at 721-
          22. The similarities are striking. There, as here, the
          publication included display ads (using logos, slogans, and
          blocking), a directory section, and a message asking readers to
          patronize the businesses listed therein.     See id. at 719-20.
          There, as here, the size of an insertion was directly proportionate
          to the price charged.    See id. at 721. There, as here, the
          sponsoring organization, prior to the time the Commissioner came
          calling, characterized the disputed activity as advertising.  See
          id.
                    Given these similarities, FOP is powerful authority for
          the Commissioner's position that the activity here in question
          comprises a separate, unrelated business. We consider         FOP
          correctly decided, and we find unconvincing the Association's
          attempts to distinguish it.  Consequently, we hold that the Tax
                              
               In striving to reach escape velocity from 
                                                         FOP's precedential
          orbit, the Association relies heavily on its presentation of expert
          testimony at trial. But this testimony was discounted by the Tax
          Court because the expert was dismally uninformed. See Tax Ct. Op.
          at 589-90. That determination was well within the trier's purview.
          See 
             Seagate Tech., Inc.
                                 v. 
                                    Commissioner, 102 T.C. 149, 186 (1994).
                                         13

          Court did not commit clear error in finding that the Association's
          solicitation, sale, and publication of displays and listings in 
                                                                        The
          Constabulary constituted the business of advertising.
                    The Association's fallback position is its claim that the
          Commissioner erred in treating the outside firms (Brent-Wyatt East
          and McKnight, respectively) as agents of the Association (and,
          thus, in attributing these firms' activities to the Association).
          To bolster this claim, the Association stresses that the contract
          documents required these firms to operate as independent
          contractors. It follows, the Association says, that even if the
          cited activities constituted the business of advertising, the
          business belonged to the outside firms.
                    We are not persuaded. In the first place, an independent
          contractor can be an agent if, and to the extent that, the
          contractor acts for the benefit of another and under its control in
          a particular transaction. See Restatement (Second) of Agency SS 2,
          14N (1957). In the second place, the label which contracting
          parties place on their relationship is not decisive of their status
          vis-a-vis third parties.  See Board 
                                              of 
                                                 Trade v. Hammond 
                                                                   Elevator
          Co., 198 U.S. 424, 437 (1905). Either way, answering the question
          that the Association raises requires that we examine the substance
          of the contracting parties' relationship.
                    In this analysis, no single factor is dispositive.  See
          Labor 
                Relations 
                          Div. 
                               of 
                                  Constr. 
                                           Indus. v. International 
                                                                   Bhd. 
                                                                         of
          Teamsters, 29 F.3d 742, 748 (1st Cir. 1994). Rather, the nature of
          the relationship between the Association and the outside firms
                                         14

          depends on a myriad of factors, including control over the manner
          and means of performing the work, the skill required, the method of
          payment, the duration of the relationship, and similar factors.
          See, 
              e.g., 
                    Saenger Org., Inc.
                                       v. 
                                         Nationwide Ins. Licensing Assocs.,
          Inc., ___ F.3d ___, ___ (1st Cir. 1997) [No. 96-2197, slip op. at
          12]; 
              Speen v. 
                       Crown Clothing Corp.
                                           , 102 F.3d 625, 629-30 (1st Cir.
          1996). The relevant factors here, taken as a whole, solidly
          support the Tax Court's determination that the outside firms acted
          as the Association's agents.
                    First and foremost, the manner in which the Association
          conducted its affairs undercuts its claim that it lacked the
          requisite degree of suasion over the outside firms' activities.
          The Association retained very tight control over the method and
          manner of solicitation, the ingredients of the sales pitch, the
          identity of the solicitors, the financial aspects of the
          arrangement, the use of its name, the advertising formats, and the
          contents of the yearbook. We refer the reader who hungers for a
          blow-by-blow account to the details set out in the opinion below.
          See Tax Ct. Op. at 584-85. Without belaboring the point, it is
          enough to say that the record reveals an ample factual predicate
          for the finding that an agency relationship existed between the
          Association and the outside firms.
                                         C.
                    The Association's final contention is that, even if its
          activities comprise a business attributable to it, that business
          was not carried on regularly. To buttress this contention, the
                                         15

          Association makes two separate, but related, arguments.
                    Its first asseveration rests on the decisions in 
                                                                   National
          Collegiate Athletic Ass'n
                                   v. 
                                      Commissioner, 914 F.2d 1417 (10th Cir.
          1990) (NCAA), and Suffolk 
                                    County 
                                           Patrolmen's 
                                                       Benevolent 
                                                                  Ass'n v.
          Commissioner, 77 T.C. 1314 (1981). These decisions are inapposite.
          In each instance, the advertising activity was tied to the program
          for a specific event.   See  NCAA, 914 F.2d at 1420 (collegiate
          basketball tournament); 
                                 Suffolk County
                                               , 77 T.C. at 1316 (vaudeville
          show). Thus, resolution of those cases depended on Treas. Reg. S
          1.513-1(c)(2)(ii), which specifically provides that "publication of
          advertising in programs for sports events or music or drama
          performances will not ordinarily be deemed to be the regular
          carrying on of business." That regulation is of no assistance here
          because the Tax Court found specially that the Association's
          publication of 
                        The 
                            Constabulary was not linked to the occurrence of
          a specific event, see Tax Ct. Op. at 593, and the Association has
          not challenged that finding in this venue.
                    We hasten to add, moreover, that the mode of analysis
          used in NCAA and Suffolk County cannot be employed here. Because
          those cases each involved a particular event, they looked to the
          time frame of the event in determining the regularity with which
          the business was carried on.    See  NCAA, 914 F.2d at 1422-23;
          Suffolk County
                       , 77 T.C. at 1322-24. In a case like this one, where
                              
               It is interesting to note that Proposed Treas. Reg. S 1.513-4
          draws a clear distinction between periodicals and material
          published in connection with a specific sponsored event. We find
          the distinction significant.
                                         16

          the publication of an ad book is not pegged to a particular event,
          a court must assay the activities which collectively comprise the
          business, and look to the overall time frame in which they
          occurred. For present purposes, that means the time frame in which
          the Association solicited, sold, and published advertising.   See
          Treas. Reg. S 1.513-1(b) (noting that the activities of soliciting,
          selling, and publishing advertising collectively constitute a
          business). Those activities persisted for approximately 46 weeks
          a year.   See Tax Ct. Op. at 593. This is more than sufficient
          regularity by any standard.
                    The Association next argues that it did not regularly
          engage in a business because it did not carry on the advertising
          activity with the same entrepreneurial zeal that might typify a
          commercial operator. But this is an ill-conceived comparison.
          Although the purpose behind the unrelated business income tax is to
          create a more level playing field between taxed and tax-exempt
          enterprises, competitive similarities are not the only factors to
          be taken into account.     See  FOP, 833 F.2d at 722-23. The
          applicable regulation stipulates that the activity in question must
          be judged "in light of the purpose" of the tax, but it does not
          require that either actual competition or competitive equality be
                              
               To be sure, the Association argues that the time frame is much
          shorter because, although solicitation and sales transpired 46
          weeks a year, publication occurred within a very narrow temporal
          window. This argument is disingenuous. Treas. Reg. S 1.513-1(b)
          refers to the activities of soliciting, selling, and publishing
          advertising as a singular business. That business must be
          regularly carried on, but there is no requirement that each task
          within the scope of the business must be carried on regularly.
                                         17

          shown. Treas. Reg. S 1.513-1(c)(1).
                    In this instance, the Association carried on its
          activities in a systematic and well-organized fashion, with a
          clearly defined profit motive. Given the limitations of clear-
          error review, we cannot disturb the lower court's finding that the
          Association's activities were sufficiently regular to bring them
          within the ambit of the regulation.  See Tax Ct. Op. at 593.
          IV. CONCLUSION
                    We need go no further. While the Association makes
          several other arguments, none requires discussion; each of them is
          either adequately treated in the Tax Court's opinion, or obviously
          incorrect, or both. It suffices to say that the Commissioner's
          determination of the tax due and owing rests on a sturdy factual
          and legal foundation.
          Affirmed.
                                         18


